UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

RUTH SMITH, Individually and as Widow
for the Use and Benefit of Herself and the
Next of Kin of RICHARD SMITH, Deceased,

Plamtiff,
-against-

PFIZER INC., PARKER-DAVIS,

a division of Warner-Lambert Company,

and Warner-Lambert Company LLC,
WARNER-LAMBERT COMPANY, -
WARNER-LAMBERT COMPANY LLC and
JOHN DOE(S) 1-10,

Defendants,

x

Civil No. 3:05-0444
Judge Trauger

(corrected signature page)

PLAINTIFF’S STIPULATIONS

EXHIBIT “A” - Authenticity Stipulation;

EXHIBIT “B” - Adverse Event Data Stipulation

EXHIBIT “C” - Drafts of Expert Reports Not Discoverable Stipulation.

Dated: April 27, 2010

FINKELSTEIN & PARTNERS, LLP
ASSOCIATES, P.C.

By:_/s/ Kenneth B. Fromson
KENNETH B, FROMSON, ESQ.
1279 Route 300

Newburgh, N.Y. 12551

Tel: (845) 562-0203

JACK W. LONDON AND

By:_/s/ Jack W.London
JACK W. LONDON, ESQ.
3701 Bee Cave Rd., Suite 200
Austin, TX 78746

Tel: (512) 478-5858

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THE LANIER LAW FIRM, PLLC

By:_/s/ W. Mark Lanier

W. MARK LANIER

126 East 56" Street, 6" Floor
New York, NY 10022

Tel: (212) 421-2800

Attorneys for Plaintiff

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EXHIBIT “A”

Authenticity Stipulation

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‘ad ditional interlineation o or:other: ‘marks,

To. the extent that a document isnot included in its-entirety, the parties agree not to:object on
authenticity grounds, ‘but: specifically: reserve the tight to: require that ‘the complete document be
‘placed. into evidence: (rather than the excerpt).

* ‘Documents produced by any healthcare’ provider-of Richard Smith,

. Docutnents ts prodees bya any y pales department, Bre department a and. ambulance

 
  
   

rodhced in.the Nevrontin. MDL Marketing, Sales Practices, and Products

‘Liability L gation bearing a Pfizer bates number,
« Documen spioduced i in the Neurontin. MDL Marketing, Sales Practices, and Products:
Liability Litigation bearing a: third-party. bates number or other. documents of third

parties: where the docuttients reasonably show.on theif face that they are authentic.

« Documents produced by Pfizer in UAS.-ex rel. Franklin v. Pfzerine and Parke- Dayis,
‘No, 96-11651-PBS (D; Mass.) bearing’a Pfizer bates number.

e Documentsthat can be shown are contained in NDAs 20-235.and.21-397 or
otherwise made available-to the plaintiffs for inspection.and copying in the Neurontin
MDL Marketing, Sales Practices, and Products Liability Litigation.

‘© Dociitnerts conceniing Neurontin originally created by Pfizéi/Warnes-Lambert or
FDA that can be, shown are available:on FDA’s-website.

* Documents-originally created by-FDA thatare posted on the FDA. website.

* Electronic documents.concerning Neurontin fromthe FDA that.contain the standard
EDA-clectronic: signature along with attachments specifically referred to..

* Emails concerning Neurontin between Pfizer, Parke-Davis, or Warner-Lambert on
one hand and FDA on the other.

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* Documents concemihg Neurontin trom the PDA signe ed bi can: FDA employee on
‘EDA letterhead alongwith attachments'specifically-refered to,

* Neurontin-related Advisory Commiittee briefit ing-doouments/submissions and:

transcripts.

 

 

“other grourids,

Entered into this 19" day of April 2010.

‘Onbebdlf of Plaintiff’ np

 

‘Newburgh, NY. 12551

On behalfof Defendants.

   

= Catharine B. Sven

 

SKADDEN, ARI
LEP

Four Times: ‘Square

New York,.New York 10036
Tel: (212) 735-3000

°$, SLATE, MEAGHER & FLOM

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ion does not waive elilier. party's right to-object 16 the ddinissibility of aby exhibit.on

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EXHIBIT “B”

Adverse Event Data Stipulation

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, FEB. 16.2009 4:350M PHOENIX CONTACT MDT, PA N0.4307 2

GOODELL, DEVRIES, LEECH & DANN, LLP

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MICHAEL J. WASICKO
MJW@)GDLDLAW.COM
WRITER'S DIRECT NUMBER
416-783-4036

February 16, 2009

VIA FIRST CLASS MAIL AND FAX
Kenneth B. Fromson

Finkelstein & Partners

1279 Route 300

P.O. Box 111!

Newburgh, NY 12551

Re: Neurontin Products Liability Litigation, Discovery: Dr. Sheila Weiss Smith

Dear Ken:

| am writing today to summarize our agreement, which we ached on Friday, February
13, 2009, We agree to a stipulation that neither party will question how data are obtained from
the raw FDA Adverse Event Reporting System (“AERS”) data, We will agree that experts for
both Plaintiffs and Defendants are equally capable of running progyams that will obtain from
AERS into a form for subsequent queries and analyses. ‘The points|of contention start with the
various experts’ use of specific protocols to analyze the data. The stipulation is that if all experts
zan the analyses using the same protocols, the results should be similar.

Per your email of February 13, 2009, I understand that you jwill be filing the appropriate
papers to withdraw your motion to compel the electronic data relied upon by Dr. Weiss Smith.
Please inform me immediately if my understanding is incorrect, Because the courts are closed
today (February 16) because of the holiday, ] am assuming you will be filing your papers no later
than February 17.

Sincerely,

Vlad f NtnA——

Michael J. Wasicko

 

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| FEB. 16.2009 4:35PM PHOENIX CONTACT MOT. PA oo NO. 4807 PB. 3

_ + February 16, 2009
Fromson re: Withdrawal of Motion to Compel

Page 2

ce: Lori MeGroder, Esquire, Shook Hardy & Bacon (via email)
Keith Altman, Esquire, Finkelstein & Partners (via email)
Richard M. Bames, Equire

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Keith Altman

From: Michael Wasicko » [mjw@GDLDLAW.c com]
Sent: Friday, February 13, 2009 10:23 AM

To: Keith Altman

Subject: RE: Weiss discovery dispute

Keith,

We can agree to a stipulation that neither side with question how the data are pulled from the raw AERS

data. We will agree that both Plaintiffs and Defendants are equally capable of running programs that will pull data
from AERS into a form for subsequent queries and analyses. The points of contention start then with the various
experts' use of specific protocols to analyze the data (e.g. serious versus all, HGLT versus PT, etc.), The
stipulation is that if all experts ran the analyses using the same protecols, the results should be similar. The point
you mentioned earlier today regarding challenges to accuracy being argued at an evidentiary hearing versus in
front of the jury will have to addressed at a later time. Does that work for you? Will this be enough to get the
MTC withdrawn today?

 

From: Keith Altman [mailto: kaltman@lawampmmt, com]
Sent: Thursday, February 12, 2009 4:26 PM

To: Michael Wasicko

Subject: RE: Weiss discovery dispute

I think that will be fine. I just have to think about the limitation issue. | will get back to you in a bit. One of the
issues we need to resolve is the following: Are we essentially willing to stipulate that both Plaintiffs and
Defendants are equally capable of running analyses based upon AERS and that the only differences would be
due to specific protocel considerations. As an example, Plaintiffs calculate the date that a term first shows up on
a report. Defendants use the date of the last best case. If plaintiffs were to re-run the data using the last best
case, then the results would be essentially the same as if we were to run iton Qscan. Dr. Weiss Smith has
effectively testified to this that any competent analysis of AERS should yield essentially the same results.

If defendants are willing to enter into such a stipulation, then plaintiffs are less concerned about running
alternative analyses in QScan if we can run them in our version of AERS and not have to get into a fight at the
time of trial that since we didn’t run them in QScan, this creates a problem out of hand. | am not suggesting that
you might not question whether the computation was done accurately, Only that the mere fact it was done in
plaintiffs copy of AERS is not a problem.

Does this make sense to you? If not, then we should talk about it.
As to the rest of the issues over the motion:

One thing, remember that my questions were not meant te be exclusive and that | was unsure whether 1 would
have additional questions, so to that extent, | don’t want to say that those are the only two outstanding issues.

Once | have had a chance to review the data, | will probably better able to quantify my questions. (or drop some if
they are answered.)

 

From: Michael Wasicko [mailto:mjw@GDLDLAW.com]
Sent: Thursday, February 12, 2009 3:45 PM

To: Keith Altman

Subject: Weiss discovery dispute

As we just discussed, you are willing to withdraw your motion to compel if we will agree that you may pursue any
additional questions that you have either through contact with DrugLogic or through queries on QScan (Dr. Weiss

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Smith's portal). It appears to me that, after our discussions over the past few weeks, that the only points of
contention remaining in this dispute are related to specific technical issues regarding QScan (i.e., mapping of
COSTART to MedDRA and conversion of SRS and AERS to QScan database) and not to the analyses presented
by Dr. Weiss Smith in her expert reports. Can we agree that should you feel that you need to run queries through
QScan, those queries will be limited to answering your questions regarding the specific technical issues related to
QScan?

Michael J. Wasicko, Esquire

Goodell, DeVries, Leech & Dann, LLP
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Baltimore, MD 21202

(410) 783-4036

FAX: 410-783-4040

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4036. Thank you.

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EXHIBIT “C”

Drafts of Expert Reports Not Discoverable Stipulation

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Howard S. Finkelsigin, P.C. {NY} Elyssa M. Friad-DaRosa{N¥) = Slaven P. Stullz (NY & MA}
Andrew G. Finkelsteln, P.C. (NY & NJ) Mary Ellan Wright (NY) Victoria Liab Lightcap (NY & MA}
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Kenneth L, Oliver, PG. (NY) Joel Bossom (NY) _ Marshall P. Richer (NY)
Fink e stein * Joel S. Finkelstein, P.C. (NYA, MASEL} Nancy ¥. Morgan (NY, NU & PA) Thomas J. Pronti (NY)
Duncan W, Clark (NY) Andrew L. Spitz {NY} Krishna M. Cahill (NY & GT}
Ronald Rosenkranz {NY} James W. Shutdeworth, HEINY) Kara. Campball {NY & GT}
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Couns. ~~ Counselors At Law ors At Law George A. Kohi, 2" (NY &-MA) Robert F, Mason {NY} Marie M. DuSautt {NY)
Eleanor t.. Polimenl (NY) Julio E. Umutia (N¥} Glann W. Kelleher {NY}
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REFER TO OUR FILE #: 200599 November 7, 2007
Lori McGroder, Esq.

Shook, Hardy, Bacon, LLP

2555 Grand Blvd.

Kansas City, Missouri 64108

Re: Discovery of Expert Draft Reports

Dear Lori:

Of Counsel

Jules P, Levine, P.G. (NY & FL}
Michael O. Gittelsohn, P.C. {NY}
doel A. Reback (NY & Israel)
Kenneth Cohan (NU)

Cyathla M. Maurer (NY & NU)
Raye D. Futerlas (NJ)

Frances M. Bova (N¥.& Nup
Kenneth G. Bartell (GT & Nu)

Ari Hreseh {NY & MI}

Gustavo W. Alzugaray (NY & NU}
Sharon A. Scanlan (NY & CT}
Jeifrey A. Brown, MO, Boa. (YE.N}
Denis G, Eis (NY)

John F. Dowd (NY & GT)

We have been discussing an agreement by which neither party in the Neurontin litigation (e.g., MDL, the New York Coordinated
Litigation, and Crone v. Pfizer), will seck from the other party discovery as it relates to drafts of expert reports. As a preliminary
matter, each party has expressly reserved and not waived any potential objections to the discovery of such documents, and each party
has not acknowledged that such reports even exist in the possession, custody or control of their respective experts or counsel.

Nevertheless, we have reached an agreement in principle, and I am memorializing the agreement as follows:

As it pertains to experts in the Neurontin Products Liability litigation (e.g., the MDL, the New York Coordinated Litigation,
and Crone v. Pfizer), itis hereby stipulated and agreed upon by counsel for Parke-Davis, Warner Lambert and Pfizer, and by
counsel for Plaintiffs represented by Finkelstein & Partners and by Jack London, Esq., that drafts of expert reports are not
discoverable. It is further stipulated and agreed upon that drafts of expert reports is a subject about which the parties shall not

inquire at depositions of the parties’ experts.

T trust this language is consistent with our communications. To the extent that you agree with the above language, please provide your
acknowledgement on the signature line below, or provide a responsive letter that details the language at issue and your acceptance of
the agreement in the form and fashion set forth above.

To the extent you want to amend or otherwise discuss changes to the proposed language, please communicate with me at your earliest
convenience.

Very muly,

&

Kenneth Fromson
Acknowledged and Agreed Upon
This” Pf Ory of November, 2007

‘
1

Lori McGroder, Esq.
Shook Hardy & Bacon, LLP
Counsel for Parke-Davis, Warner Lambert, and

Pfizer
Newburgh + Albany + Binghamton > Kingston « Middiatown = Montoe « New Windsor « Newark + Port Jervis - Poughkeepsie « Spriag Valley = Syracuse » Troy * Utica
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